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                                                       Our File No.: 108733

                                                                                   UNITED STATES DISTRICT COURT
                                                                                   EASTERN DISTRICT OF NEW YORK



                                                       ALLISON MEIOLA,                                               Docket No: '15CV0902 W     NLS

                                                                              Plaintiff,                             COMPLAINT

                                                                                   vs.
                                                                                                                     JURY TRIAL DEMANDED
                    100 GARDEN CITY PLAZA, SUITE 500
     PLLC


                     GARDEN CITY, NEW YORK 11530




                                                       INTERNATIONAL RECOVERY ASSOCIATES,
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                                                       INC.,

                                                                             Defendant.


                                                               ALLISON MEIOLA (hereinafter referred to as “Plaintiff”), by and through the
                                                       undersigned counsel, complains, states and alleges against INTERNATIONAL RECOVERY
                                                       ASSOCIATES, INC. (hereinafter referred to as “Defendant”), as follows:
                                                                                               INTRODUCTION
                                                               1.     This action seeks to recover for violations of the Fair Debt Collection Practices
                                                       Act, 15 U.S.C. § 1692, et seq., (“FDCPA”) and New York General Business Law (“NYGBL”) §
                                                       349.
                                                                                           JURISDICTION AND VENUE
                                                               2.     This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331
                                                       and 15 U.S.C. § 1692k(d), and jurisdiction over the state law claims pursuant to 28 U.S.C. §
                                                       1367.
                                                               3.     Venue is proper under 28 U.S.C. §1391(b) because a substantial part of the events
                                                       or omissions giving rise to the claim occurred in this Judicial District.



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                                                               4.       At all relevant times, Defendant conducted business within the State of New
                                                       York.
                                                                                                    PARTIES

                                                               5.       Plaintiff is an individual who is a citizen of the State of New York and resides in
                                                       this Judicial District.
                                                               6.       Plaintiff, a “consumer” as defined by 15 U.S.C. § 1692a(3), is allegedly obligated
                                                       to pay a debt.
                                                                7.      On information and belief, International Recovery Associates, Inc.'s principal
                                                       place of business is located in Nesconset, New York.
                                                                8.      Defendant is regularly engaged, for profit, in the collection of debts allegedly
                                                       owed by consumers.
                                                                9.      Defendant is a person who uses an instrumentality of interstate commerce or the
                                                       mails in a business the principal purpose of which is the collection of debts, or who regularly
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                     GARDEN CITY, NEW YORK 11530




                                                       collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or
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                                                       due another, and is therefore a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                                                                                 ALLEGATIONS

                                                                10.     Plaintiff's alleged debt was primarily for personal, family or household purposes
                                                       and is therefore a “debt” as defined by 15 U.S.C. § 1692a(5).
                                                                11.     Sometime after the incurrence of the debt, but before the initiation of this action,
                                                       Plaintiff is alleged to have fallen behind on payments allegedly owed on the alleged debt.
                                                                12.     At a time known only to Defendant, Plaintiff's alleged debt was assigned or
                                                       otherwise transferred to Defendant for collection.
                                                                13.     In its efforts to collect the alleged debt, Defendant contacted Plaintiff by written
                                                       correspondence. (“Exhibit 1.”)
                                                                14.     Defendant's written correspondence to Plaintiff is a “communication” as defined
                                                       by 15 U.S.C. § 1692a(2).
                                                                15.     As set forth in the following Counts, Defendant's communication violated the
                                                       FDCPA and NYGBL.




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                                                                                                FIRST COUNT
                                                                                         Violation of 15 U.S.C. § 1692f
                                                                                                Unfair Practices

                                                               16.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                               17.     15 U.S.C. § 1692f provides a debt collector may not use unfair or unconscionable
                                                       means to collect or attempt to collect any debt.
                                                               18.     15 U.S.C. § 1692f(8) limits the language and symbols that a debt collector may
                                                       place on envelopes it sends to consumers.
                                                               19.     § 1692f(8) applies to language visible through a transparent window of an
                                                       envelope. See, Douglass v. Convergent Outsourcing, 765 F.3d 299 (3rd Cir 2014).
                                                               20.     § 1692f(8) prohibits the debt collector's disclosure of the debtor's account number
                                                       on the envelope.
                                                               21.     Defendant disclosed Plaintiff's account number in its mailing to Plaintiff.
                                                               22.     Defendant has violated § 1692f by disclosing Plaintiff's account number in its
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                     GARDEN CITY, NEW YORK 11530




                                                       mailing to Plaintiff.
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                                                                                               SECOND COUNT
                                                                               Violation of New York General Business Law § 349

                                                               23.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                               24.     Defendant owed a duty to Plaintiff to effect its collection of Plaintiff's alleged
                                                       debt with reasonable care.
                                                               25.     Defendant's deception as described herein shows a lack of exercise of reasonable
                                                       care in Defendant's collection of the alleged debt.
                                                               26.     Defendant breached its duty to collect Plaintiff's alleged debt with reasonable
                                                       care.
                                                               27.     Defendant's conduct was committed by Defendant in the conduct of a business,
                                                       trade or commerce or the furnishing of a service in New York State and constitutes a violation of
                                                       NY GBL § 349(a).
                                                               28.     Defendant's conduct was consumer-orientated in that the letter was sent in an
                                                       effort to collect an alleged consumer debt.
                                                               29.     Defendant's conduct has a broader impact on consumers at large as, upon
                                                       information and belief, Defendant has sent the subject form letter to hundreds of consumers.


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                                                              30.      Plaintiff is a reasonable consumer.
                                                              31.      Defendant's conduct would mislead a reasonable consumer.
                                                              32.      Defendant engaged in a material deceptive act or practice as described herein.
                                                              33.      Defendant's conduct caused plaintiff to suffer injury.
                                                              34.      Defendant violated NY GBL § 349(a) and is liable to Plaintiff pursuant to NY
                                                       GBL § 349(h).

                                                                                                JURY DEMAND

                                                              35.      Plaintiff hereby demands a trial of this action by jury.

                                                                                            PRAYER FOR RELIEF
                                                             WHEREFORE, Plaintiff respectfully requests judgment as follows:
                                                                a.        Statutory damages of $1,000.00 against Defendant pursuant to 15 U.S.C. §
                                                                          1692k; and
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                     GARDEN CITY, NEW YORK 11530




                                                                b.        Plaintiff's attorneys' fees pursuant to 15 U.S.C. § 1692k; and
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                                                                c.        Damages against Defendant pursuant to NYGBL § 349; and
                                                                d.        Plaintiff's costs; all together with
                                                                e.        Such other relief that the Court determines is just and proper.


                                                       DATED: April 20, 2015

                                                                                                      BARSHAY SANDERS, PLLC

                                                                                                      By: _/s/ Craig B. Sanders ____________
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